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 2
     Ambler, PA 19002
 3   Telephone: (215) 540-8888
     Attorney of Record: Amy L. B. Ginsburg, Esq. (AB0891)
 4
     Attorney for Plaintiff
 5
                        UNITED STATES DISTRICT COURT
 6                     FOR THE DISTRICT OF NEW JERSEY
 7
                                              )
 8   EDWARD HENDREX,                          )
                                              )
 9
                 Plaintiff,                   ) Case No.: 3:17-cv-04166-FLW-DEA
10                                            )
           v.                                 )
11
                                              ) JURY TRIAL DEMANDED
12   VERDE ENERGY,                            )
                                              )
13                 Defendant.                 )
14

15
                              FIRST AMENDED COMPLAINT

16         EDWARD HENDREX (“Plaintiff”), by and through his attorneys,
17
     KIMMEL & SILVERMAN, P.C., alleges the following against VERDE ENERGY
18
     (“DEFENDANT”):
19

20                                    INTRODUCTION
21
           1.    Plaintiff’s Complaint is based on the Telephone Consumer Protection
22

23   Act, 47 U.S.C. §227.

24

25

26

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                              PLAINTIFF’S FIRST AMENDED COMPLAINT
28
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 1                             JURISDICTION AND VENUE
 2
           2.     Jurisdiction of this Court arises under 28 U.S.C. § 1331, which grants
 3
     this court original jurisdiction of all civil actions arising under the laws of the
 4

 5   United States.

 6         3.     Defendant regularly conducts business in the State of New Jersey
 7
     thus, personal jurisdiction is established.
 8
           4.     Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
 9

10                                         PARTIES
11
           5.     Plaintiff is a natural person residing in Newark, New Jersey 07108.
12
           6.     Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
13

14
           7.     Defendant is a corporation with its principal place of business located

15   at 101 Merritt 7, 2nd Floor, Norwalk, Connecticut 06851.
16
           8.     Defendant acted through its agents, employees, officers, members,
17
     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
18

19   representatives, and insurers.

20                              FACTUAL ALLEGATIONS
21
           9.     Plaintiff has a cellular telephone number which he uses as his
22
     personal telephone.
23

24         10.    Plaintiff has only used this number as a cellular telephone number.

25         11.    Beginning in March 2016 and continuing through early April 2016,
26

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                             PLAINTIFF’S FIRST AMENDED COMPLAINT
28
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 1   Defendant began placing repeated calls to Plaintiff’s cellular telephone.
 2
           12.    When contacting Plaintiff on her cellular telephone, Defendant used
 3
     an automatic telephone dialing system and/or pre-recorded voice.
 4

 5         13.    Many of the calls began with a recorded message that identified

 6   Defendant by name as the caller before Plaintiff was transferred to a live
 7
     representative.
 8
           14.    The Plaintiff also received calls from Defendant that started with
 9

10   noticeable delay or silence when Plaintiff answered the telephone where there was
11
     no caller on the line. Then the call either terminated or a representative came on
12
     the phone and Plaintiff could speak to someone.
13

14
           15.    Defendant’s telephone calls were not made for “emergency purposes;”

15   rather, Defendant was calling Plaintiff for telemarketing purposes to get Plaintiff to
16
     switch energy companies.
17
           16.    In early March 2016, Plaintiff spoke with a representative of
18

19   Defendant, who identified its company by name, and revoked any consent

20   Defendant may have thought it had to to call his cellular telephone number by
21
     telling Defendant to stop calling.
22
           17.    Furthermore, Plaintiff disputes having ever furnished Defendant with
23

24   his cellular telephone number as he has never engaged in business with the

25   Defendant.
26

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                            PLAINTIFF’S FIRST AMENDED COMPLAINT
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 1         18.    When the Defendant continued to call after Plaintiff told them to stop
 2
     in March 2016, he told them to stop calling several more times.
 3
           19.    Nonetheless, Defendant continued to call Plaintiff on his cellular
 4

 5   telephone up to three or four times in a single day through April 2016.

 6         20.    Upon information and belief, Defendant conducts business in a
 7
     manner which violates the Telephone Consumer Protection Act.
 8
           21.    Plaintiff found Defendant’s repeated calls frustrating, annoying,
 9

10   stressful, invasive, and harassing.
11
                              DEFENDANT VIOLATED
12                  THE TELEPHONE CONSUMER PROTECTION ACT

13         22.    Plaintiff incorporates the forgoing paragraphs as though the same were
14
     set forth at length herein.
15
           23.    Defendant initiated automated calls to Plaintiff using an automatic
16

17   telephone dialing system.
18         24.    Defendant’s calls to Plaintiff were not made for emergency purposes.
19
           25.    Defendant’s calls to Plaintiff after it was told to stop calling were
20
     made even though Defendant knew it did not have Plaintiff’s prior express consent.
21

22         26.    Defendant’s acts as described above were done with malicious,
23
     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
24
     under the law and with the purpose of harassing Plaintiff.
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                             PLAINTIFF’S FIRST AMENDED COMPLAINT
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 1         27.    The acts and/or omissions of Defendant were done unfairly,
 2
     unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,
 3
     lawful right, legal defense, legal justification or legal excuse.
 4

 5         28.    As a result of the above violations of the TCPA, Plaintiff has suffered

 6   the losses and damages as set forth above entitling Plaintiff to an award of
 7
     statutory, actual and trebles damages.
 8

 9

10
           WHEREFORE, Plaintiff, EDWARD HENDREX, respectfully prays for a
11

12
     judgment as follows:

13                a.     All     actual   damages    suffered   pursuant   to   47   U.S.C.
14
                         §227(b)(3)(A);
15
                  b.     Statutory damages of $500.00 per violative telephone call
16

17                       pursuant to 47 U.S.C. §227(b)(3)(B);

18                c.     Treble damages of $1,500 per violative telephone call pursuant
19
                         to 47 U.S.C. §227(b)(3);
20
                  d.     Injunctive relief pursuant to 47 U.S.C. §227(b)(3); and
21

22                e.     Any other relief deemed appropriate by this Honorable Court.

23

24
                                DEMAND FOR JURY TRIAL
25
           PLEASE TAKE NOTICE that Plaintiff, EDWARD HENDREX, demands a
26

27                                               -5-
                               PLAINTIFF’S FIRST AMENDED COMPLAINT
28
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 1   jury trial in this case.
 2

 3
                     CERTIFICATION PURSUANT TO L.CIV.R.11.2
 4
            I hereby certify pursuant to Local Civil Rule 11.2 that this matter in
 5

 6   controversy is not subject to any other action pending in any court, arbitration or

 7   administrative proceeding.
 8
                                                Respectfully submitted,
 9
       DATED: August 3, 2017                    /s/ Amy L. B. Ginsburg, Esq.
10
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                                PLAINTIFF’S FIRST AMENDED COMPLAINT
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